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                      IN THE UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF MICHIGAN

 LAKE SUPERIOR ACADEMY, a                           Case No. 2:25-00160
 Domestic Nonprofit Corporation,                    Hon.

         Plaintiff,                                 Chippewa County Circuit Court
                                                    Case No. 25-18269-CZ
 v.

 ODESSA PARTNERS, LLC, a
 Foreign For-Profit Corporation,

         Defendant.

 [PROPOSED] ORDER DISSOLVING ORDER GRANTING PLAINTIFF’S
    MOTION FOR EX PARTE TEMPORARY RESTRAINING ORDER

        This matter having been removed from the Chippewa County Circuit Court

on or about July 9, 2025; the Chippewa County Circuit Court having entered an

Order Granting Plaintiff’s Motion for Ex Parte Temporary Restraining Order on or

about June 30, 2025; Defendant Odessa Partners, LLC having filed an Emergency

Motion to Dissolve Temporary Restraining Order Granted without Notice on or

about July 9, 2025; and the Court being otherwise fully advised in the premises;

        IT IS HEREBY ORDERED that the Order Granting Plaintiff’s Motion for Ex

Parte Temporary Restraining Order that was entered on or about June 30, 2025 is

hereby and immediately dissolved.




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        IT IS FURTHER ORDERED that Defendant’s Response to Plaintiff’s Motion

for a Preliminary Injunction shall be filed on or before _______________________,

2025.

        IT IS FURTHER ORDERED that Plaintiff’s Motion for a Preliminary

Injunction will be heard by the Court on ______________________________,

20205 at __________ a.m./p.m. via Zoom.

        IT IS SO ORDERED.



                                               _________________________________________
                                               UNITED STATES DISTRICT COURT JUDGE
____________________
Date




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